                        UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA
                                  1:20-CV-442

FOOD LION, LLC, and MARYLAND
AND VIRGINIA MILK PRODUCERS
COOPERATIVE ASSOCIATION, INC.,

       Plaintiffs,                               NOTICE OF SPECIAL APPEARANCE
                                                      OF W. TODD MILLER
v.

DAIRY FARMERS OF AMERICA, INC.,

       Defendants.



       Pursuant to Local Rule 83.1(d), please take notice of the special appearance of W.

Todd Miller as counsel of record for Defendant Dairy Farmers of America, Inc., in the

above-captioned civil action.

       Mr. Miller certifies that he is an active member in good standing of the bars of the

Commonwealth of Virginia and the District of Columbia.

       Mr. Miller further certifies that he understands that by entering an appearance he

submits to the disciplinary jurisdiction of the court for any misconduct in connection with

the above-captioned civil action for which he is specially appearing.

       Mr. Miller represents that he will ensure that an attorney who is familiar with the

case and has authority to control the litigation will be at all conferences, hearings, trials

and other proceedings.




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      Mr. Miller has associated with James A. Cooney III and Brent F. Powell of the law

firm of Womble Bond Dickinson (US) LLP. Both are members of the bar of this Court

and also serve as counsel of record for Dairy Farmers of America, Inc.

      Mr. Miller has registered as a filing user with the Court’s CM/ECF system under

Local Rule 5.3(a)(1).

      Respectfully submitted this 22nd day of June 2020.

                                          /s/ W. Todd Miller
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